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                                        Affidavit of Kristine Lutzo


  In accordance with 28 U.S.C. § 1746, I, Kristine Lutzo, declare under the penalty of perjury of the laws of
                  the United States of America, and state upon personal knowledge that:



 My Name is Kristine Lutzo. I am 48 years old, work as a project manager, and currently reside at 174
 Steeple Chase Run, Northfield, Ohio.

 In June of 2021 I was brought on as an independent contractor to manage Client Services. In July of
 2021 I was promoted to Operations Manager. On February 9th of 2022 I was promoted to Operations
 Director after Amy Landau, then Operations Director was promoted to Executive Director as Simone Gold
 resigned from the board. I resigned my position on April 15th, 2022.

 February 9,2022 -1 attended the in-person leadership meeting at the Team House in Naples, FL. The
 following people were in attendance: Drew Kacharuk, Amy Landau, Irene Williams, Paul Lentz, Lisa
 Andrzejewski, AJ Andrzejewski, Pastor Jearlyn Dennie, Rafael Ramos, Lara Rolim, Dr. Simone Gold.
 Simone Gold announces to the group that she is stepping down as Executive Director from AFLDS to
 protect ALFDS from any smearing as she has a target on her back. She will focus on Gold Care clinics.
 Dr. Gold announced that Amy Landau is AFLDS' new Executive Director. Simone Gold announced that I,
 Kristine Lutzo, am the new Operations Director. Gold says in the meeting that we should look to her as a
 consultant or advisor, and she will be involved only on the things that pertain to marketing/fundraising.
 She also commented that she will be taking no salary. Yet, she continued to receive 20K a month for
 February and March.

 Feb 14, 2022 - Amy, Irene and I had calls daily on the new order of the organization as there was
 ambiguity around if Amy Landau, as Executive Director, or even Irene and myself as Operations/HR had
 any authority to act in accordance with our roles/duties for the best interest of the organization. During
 this time, Amy Landau was seeking access to the AFLDS financial accounts, including the credit card
 statements, which she never received access before she resigned.

 Feb 28, 2022 -1 witness a change in Amy Landau demeanor as she was visibly shaken due to receiving
 hateful emails from Gold, belittling her and her team out of nowhere, namely Irene Williams and Paula
 Lentz.

 March 7, 2022 - Amy Landau told Irene and I she was resigning as Executive Director of AFLDS. She
 then told us she was calling Simone, who was in Dallas meeting with Lisa Trout, and Alison Rockett.

 March 8, 2022 - Drew, Paula and I contacted Joey to find out plan for new Executive Director, and to
 understand hierarchy of who is in charge. Christine Vaught confirmed AFLD going through self-audit, as
 in-house counsel Thomas Gennaro and Royce Hood are advising there is appearance of benefiting. Dr.
 Gold should NOT be asking for org chart, budget or telling us who to hire. She should not be giving orders
 as she stepped down and is now a marketing consultant.

 March 11, 2022 - Early in the day, I receive an email from Simone asking for the budget and
 organizational chart. I also received a separate email stating that I need to interview/hire Allison Rocket
 Frase (whom she met with earlier in the week). I did not comply and instead contacted Christine Vaught
 as this was not within Gold’s scope to manage organization. Christine Vaught then stated that AFLDS is
 under a self-Audit and asked us to pull together documents such as organizational chart, and budget to
 send to the law firm hired to do the self-audit.

 March 11, 2022 - Joey Gilbert called a late TEAMS call with Me, Irene, Drew, Paula, to confirm that
 Simone should NOT be asking for Organizational Chart, or budget. I advise Amy was given the role of
 Executive Director, but she was not allowed execute her duties as she was overshadowed and
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  questioned at every turn by Simone Gold. I asked Joey to confirm with Simone what is allowed as a
  consultant/advisor.

 March 12, 2022 - Simone called me early morning to tell me how she feels she is being left out of AFLDS
 and if she does not get what she asks for (AFLDS documents) she will not fundraise for AFLDS. I said
 that Joey will be calling her to explain how things will work moving forward.

  March 13, 2022 - Joey called me to explain how Simone is the face of AFLDS and may need to know
  certain financials based on fundraising efforts. I asked Joey what Simone is not allowed to decide on, he
  said if she requests something that I am not comfortable with, then I need to call him, as Chairman of the
  Board and acting Executive Director.

 March 13, 2022 -1 called Simone to explain that I spoke to Joey and now understand how to move
 forward. Joey explained to me how thing from her end should be requested, for fundraising or marketing
 needs, and if I have an issue, I can contact him for clarification. She stated that she was very hurt by the
 fact that I wouldn’t just give her the documents she requested. She ended the conversation with the
 statement “from a legal standpoint, there can be no paper trail.’’

 March 14, 2022 -1 led the Leadership call and announced Amy has left organization, but no successor
 was named. Gold was on call.

 March 15, 2022 - Per Simone Gold, I as well as HR Manager, Irene Williams, interviewed Alison Rockett-
 Frase, for what role I did not know. Allison was later hired as a Business Consultant for AFLDS at 10K a
 month starting salary.

 March 16, 2022 -1 received email from Joey announcing that Lisa Andrzejewski is Executive Liaison to
 chairman of board, as he is acting Executive Director. I spoke with Christine Vaught explaining that I
 emailed Gold the night before, asking when the Gold Care employees would be moved off AFLDS
 payroll, totaling 100K in salaries, but received no response.

 March 18, 2022 -1 announced in the Frontline Forward (internal communication newsletter) that Lisa
 Andrzejewski was appointed Executive Director by Joey Gilbert, Chairman of the Board.

 March 18, 2022 - I as well as communications Director, Paula Lentz, received a scathing email from
 Simone Gold stating Dr. Rake need to be managed. Gold stated the salary of Dr. Rake when brought on
 initially was 6k a month and then he was bumped to 12K a month shortly after. Gold then proceeded to
 complain about Dr. Rake performance, demanding that he was reduced back to 6k, and that the “extra”
 6k will have to be spent hiring a Creative Leader. She then said this money (6K) could be given to John
 Strand with a raise/promotion.

 March 21, 2022 -1 had a Budget/Payroll review with Lisa Andrzejewski and Joey Gilbert. Lisa said payroll
 stays between me, Lisa, and Joey only. Simone Gold was still listed on payroll for February and March as
 to be paid 20K. Lisa was bumped to 10K but continued to live in the Team House rent free. Joey was
 bumped to 25K for taking on more responsibilities. On the Leadership call I announced Lisa is Executive
 Director. I spoke to Christine Vaught this week who told me that the self-audit was dropped.

 March 29, 2022 -1 received a call from Simone Gold to ask what I thought of Jen VanDeWater. Simone
 then started to slander Dr. VanDeWater by accusing her of dropping the ball on the CVS/Walgreens case
 as there are no plaintiffs. Simone said she was upset she wasted time on freedom pharmacy list. I asked
 Simone to give me time to investigate. Before I could get back to Simone on my findings, which
 exonerated Dr. VanDeWater, she was let go from AFLDS.

 March 30, 2022 - Lisa Andrzejewski called me to talk about Dr. VanDeWater and Irene. I sent Lisa Irene’s
 Job duties and my review of how she does them. That afternoon I sat in on a two-hour Citizen Corps call
 where Simone Gold spoke of all the initiatives and direction for the department. Lisa, the Executive
 Director, barely spoke or directed anyone. Gold was doing it all. Later that day I received the procurement
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 policy from Hanna Oakes, from goldcarehw@qmail.com. This same week Lisa Andrzejewski moved all
 Expenses, which used to be managed by Irene, to Sarah Denis, her new assistant. I am now seeing that
 they are pushing Irene out the door by taking away her HR duties.

 April 1, 2022 - Jen VanDeWater was fired by Lauren Bradford, who was not part of the HR department.
 Found out others were fired directly by Simone, such as Deb Diener, Karen Judge, within the legal
 department.

 April 4, 2022 -1 led the leadership call to announce Pharmacy department gone. Gold was on the call and
 after I was done with my piece, she announced that John Strand, whom she is in a personal relationship
 with, was promoted to Creative Director. I am Operations Director, and I do not even know that people
 are being fired and promoted. All the while, Lisa, the Executive Director of AFLDS, and Executive
 Assistant to Simone Gold is not saying a word on this call. Simone is doing all the talking as to the
 direction AFLDS is headed. Joey Gilbert was not in attendance during this call.

 April 5, 2022 - Lisa emails Irene for job description then wants to know what her daily duties are, after I
 already sent them to Lisa the week prior. Lisa explains they are looking at all roles I departments, but Lisa
 took all duties away from Irene (expenses, shop, onboarding, offboarding, documentation). I am seeing
 that Lisa is taking all direction from Gold.

 April 7, 2022 - Irene and I have call with Lisa to understand our roles and what exactly we should be
 doing as HR/Operations. We both explained that no one is reaching out to us, because no one knows
 what is happening within the organization or the direction of the organization. Lisa explained that this is a
 re-vamping of the organization, and everyone is being looked at for role and salary. This is being done
 behind our backs as Lisa Andrzejewski and Gold are making all the changes to staff and salary.

 April 11, 2022 - After several weeks of being kept in the dark as Operations Director, I was contacted by
 Lisa Andrzejewski and Simone Gold on Teams, to discuss certain people within the organization. Gold
 once again did all the talking, said she went through the Organizational chart and told Lisa who to keep
 and who to let go. When she got to me, she did not know if I had her undying allegiance, stating that, she
 wants to know that the people that are with her, to know in their soul they can always trust her. She then
 started to put a wedge between me and Irene, stating that Irene spins out of control, and I should not
 listen to her. I have worked with Irene for a year, and this was a total slanderous, false statement. The call
 ended with Simone stating that AFLDS does not need a HR department anymore, and I volunteered to
 call Irene to let her know she was fired.

 April 15, 2022 -1 sent my letter of resignation to Lisa Andrzejewski and Joey Gilbert effective immediately.
 I could no longer be in my role as Operations Director when it was clear to me that criminal activity was
 happening financially, with the budget still showing gold care employees being paid out by AFLDS funds,
 along with Simone Golds continued involvement to day-to-day operations, of restructuring, hiring,
 promoting, and firing people at will. Simone Gold did most of this directly, or used her puppet Lisa
 Andrzejewski, to do her bidding. I was also aware of the rail roading Simone and Lisa did to Paula Lentz,
 Communications Director, by demoting her to be under John Strand, whom was just recently promoted to
 Creative Director.

 I swear that the above information is a true and faithful account of the actions of Simone Gold still running
 AFLDS even after stepping down from a leadership role.


   Kristite-- Lizo                                                                       November 8, 2022
